         Case 2:05-cr-00452-RSM          Document 175        Filed 03/29/11     Page 1 of 3




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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )           CASE NO. CR05-452-RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )           SUMMARY REPORT OF U.S.
                                          )           MAGISTRATE JUDGE AS TO
11   TRACY D. McWILLIAMS,                 )           ALLEGED VIOLATIONS
                                          )           OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14         An initial hearing on supervised release revocation in this case was scheduled before me

15 on March 29, 2011. The United States was represented by AUSA Andrew Colasurdo for Andrew

16 Friedman and the defendant by Stewart Riley. The proceedings were digitally recorded.

17         Defendant had been sentenced on or about September 15, 2006 by the Honorable Ricardo

18 S. Martinez on charges of Conspiracy and Bank Fraud, and sentenced to 21 months custody,

19 five years supervised release. (Dkt. 93, 101.)

20         The conditions of supervised release included the standard conditions plus the

21 requirements that defendant participate in a substance abuse program, abstain from alcohol,

22 submit to search, participate in a mental health program, pay restitution in the amount of


     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -1
          Case 2:05-cr-00452-RSM           Document 175        Filed 03/29/11      Page 2 of 3




01 $54,006.21, provide her probation officer with access to financial information as requested,

02 maintain a single checking account for all financial transactions, divulge all business interests,

03 disclose all assets and liabilities, be prohibited from incurring new credit charges or opening new

04 lines of credit without permission, and not possess any identification documents in any but her

05 true identity.

06          On December 1, 2009, defendant’s probation officer reported that she tested positive for

07 marijuana. Defendant was reprimanded, testing was increased, and she was referred for

08 professional assessment and intensive outpatient treatment. No other action was taken at the

09 time. (Dkt. 130.) Ono February 9, 2010, defendant’s probation officer again reported that

10 defendant tested positive for marijuana. She was placed in a structured testing program,

11 reprimanded and referred for professional assessment. No further action was taken at the time.

12 (Dkt. 131.)

13          On March 24, 2010, defendant admitted violating the conditions of supervision by failing

14 to make monthly restitution payments, failing to submit a 2008 federal income tax return, failing

15 to submit monthly reports, failing to participate in a substance abuse program as instructed, and

16 using cocaine and marijuana. (Dkt. 135.) In a supplement hearing on April 6, 2010, defendant

17 further admitted violating the conditions of supervision by using cocaine and marijuana on

18 additional occasions and failing to submit to mandatory drug testing. (Dkt. 142.) Defendant was

19 sentenced to three months in custody, 57 months supervised release. (Dkt. 149.)

20          In an application dated February 24, 2011 (Dkt. 165, 166), U.S. Probation Officer Sara

21 K. Moore alleged the following violations of the conditions of supervised release:

22          1.      Failing to notify the probation officer at least ten days prior to any change in


     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -2
          Case 2:05-cr-00452-RSM           Document 175         Filed 03/29/11      Page 3 of 3




01 residence in violation of standard condition 6.

02          2.      Failing to participate as directed in substance abuse treatment at Sound Mental

03 Health in violation of the special condition requiring the defendant to participate as instructed in

04 a program approved by the probation office for treatment of narcotic addiction, drug dependency,

05 or substance abuse.

06          3.      Failing to notify the probation officer within 72 hours of being arrested or

07 questioned by a law enforcement officer on or about February 21, 2011.

08          Defendant was advised in full as to those charges and as to her constitutional rights.

09          Defendant admitted the alleged violations and waived any evidentiary hearing as to

10 whether they occurred.

11          I therefore recommend the Court find defendant violated her supervised release as

12 alleged, and that the Court conduct a hearing limited to the issue of disposition. The next

13 hearing will be set before Judge Martinez.

14          Pending a final determination by the Court, defendant has been detained, to be released

15 to a halfway house as soon as space is available.

16          DATED this 29th day of March, 2011.



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17

18                                                 Mary Alice Theiler
                                                   United States Magistrate Judge
19

20 cc:      District Judge:                Honorable Ricardo S. Martinez
            AUSA:                          Andrew Colasurdo, Andrew Friedman
            Defendant’s attorney:          Stewart Riley
21          Probation officer:             Sara Moore
22


     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -3
